           Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 1 of 23 Page ID #:1742


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                          Attorneys for Counterclaimants Paul Sandford,
                        8 Nick Sandford, and Grumpy Beverage, LLC
                        9
                                                          UNITED STATES DISTRICT COURT
                     10
                                                        CENTRAL DISTRICT OF CALIFORNIA
                     11
                                                              WESTERN DIVISION – SPRING
                     12
                     13 Grumpy Cat LIMITED, an Ohio                  )     Case No: 8:15-cv-02063-DOC-DFM
                        Limited Liability Entity,                    )
                     14                                              )
                                     Plaintiff,                      )     DEFENDANTS’ PROPOSED
                     15                                              )     SPECIAL VERDICT FORMS
                              vs.                                    )
                     16                                              )
                        GRENADE BEVERAGE LLC, a                      )     Case filed:   December 11, 2015
                     17 California Limited Liability Company;        )     Trial date:   January 16, 2018
                        PAUL SANDFORD, an individual;                )     Place:        Courtroom 9D
                     18 NICK SANDFORD, an individual; and            )     Judge:        Hon. David O. Carter
                        DOES 1-50,                                   )
                     19                                              )
                                     Defendants.                     )
                     20                                              )
                                                                     )
                     21      PAUL SANDFORD, an individual;           )
                             NICK SANDFORD, an individual; and )
                     22      GRUMPY BEVERAGE, LLC, a Texas )
                             Limited Liability Company,              )
                     23                                              )
                                         Counterclaimants,           )
                     24                                              )
                                   vs.                               )
                     25                                              )
                             GRUMPY CAT LIMITED, an Ohio             )
                     26      Limited Liability Entity; and ROES 1-5, )
                                                                     )
                     27                  Counterdefendants.          )
                                                                     )
                     28

                             DEFENDANT’S PROPOSED VERDICT FORMS
A Professional Corporation
                             Case No. 8:15-cv-02063-DOC-DFM
          Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 2 of 23 Page ID #:1743



                       1 Special Verdict Form No. ___:
                                 (A)        Given as proposed       ___________
                       2
                                 (B)        Given as modified       ___________
                       3         (C)        Refused                 ___________
                                 (D)        Withdrawn               ___________
                       4
                       5 Authority: CACI VF-300
                       6
                       7                                     SPECIAL VERDICT FORM NO. _
                       8                                          BREACH OF CONTRACT
                       9                    GRUMPY BEVERAGE, LLC VERSUS GRUMPY CAT LIMITED
                    10
                                       We, the jury in the above-entitled action, answer the questions submitted to us as
                    11
                             follows:
                    12
                    13
                                       1.     Did Grumpy Cat and Grenade Beverage enter into a contract that was
                    14
                                              intended to benefit Grumpy Beverage?
                    15
                                              ______YES             ______NO
                    16
                                                  • If your answer to question 1 is YES, then answer question 2.
                    17
                                                  • If your answer to question 1 is NO, then stop here, answer no further
                    18
                                                      questions, and have the presiding juror sign and date this form.
                    19
                    20
                                       2.     Did Grumpy Beverage do all, or substantially all, of the significant
                    21
                                              things that the contract required Grumpy Beverage to do?
                    22
                                              ______YES             ______NO
                    23
                                                  • If your answer to question 2 is YES, then skip question 3 and answer
                    24
                                                      question 4.
                    25
                                                  • If your answer to question 2 is NO, then answer question 3.
                    26
                    27
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS             -1–
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
          Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 3 of 23 Page ID #:1744



                       1             3.       Was Grumpy Beverage excused from having to do all, or substantially
                       2                      all, of the significant things that the contract required Grumpy Beverage
                       3                      to do?
                       4                      ______YES              ______NO
                       5                          • If your answer to question 3 is YES, then answer question 4.
                       6                          • If your answer to question 3 is NO, then stop here, answer no further
                       7                               questions on this form, and have the presiding juror sign and date this
                       8                               form.
                       9
                    10               4.       Did all the conditions that were required for Grumpy Cat’s
                    11                        performance occur?
                    12                        ______YES              ______NO
                    13                            • If your answer to question 4 is YES, then answer question 5.
                    14                            • If your answer to question 4 is NO, then stop here, answer no further
                    15                                 questions on this form, and have the presiding juror sign and date this
                    16                                 form.
                    17
                    18               5.       Did Grumpy Cat fail to do something that the contract required
                    19                        Grumpy Cat to do?
                    20                        - OR –
                    21                        Did Grumpy Cat do something that the contract prohibited Grumpy
                    22                        Cat from doing?
                    23                        ______YES              ______NO
                    24                            • If your answer to either option for question 5 is YES, then answer
                    25                                 question 6.
                    26                            • If you answered NO to both options for question 5, then stop here,
                    27                                 answer no further questions on this form, and have the presiding juror
                    28                                 sign and date this form.

                             DEFENDANT’S PROPOSED VERDICT FORMS              -2–
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
          Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 4 of 23 Page ID #:1745



                       1
                       2             6.       Was Grumpy Beverage harmed by Grumpy Cat’s breach of contract?
                       3                      ______YES               ______NO
                       4                          • If your answer to question 6 is YES, then answer question 7.
                       5                          • If your answer to question 6 is NO, then stop here, answer no further
                       6                              questions on this form, and have the presiding juror sign and date this
                       7                              form.
                       8
                       9             7.       What are Grumpy Beverage’s damages?
                    10
                    11                                            TOTAL:   $_______________
                    12
                                     Signed: _________________________________
                    13
                                             Presiding Juror
                    14
                    15               Dated: _________________________________
                    16
                    17
                             After all verdict forms have been signed, notify the [clerk/bailiff/court attendant] that you
                    18 are ready to present your verdict in the courtroom.
                    19
                    20
                    21
                    22
                    23
                    24
                    25
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                             DEFENDANT’S PROPOSED VERDICT FORMS             -3–
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
          Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 5 of 23 Page ID #:1746


                             Special Verdict Form No. _:
                       1
                                 (A)        Given as proposed       ___________
                       2
                                 (B)        Given as modified       ___________
                       3         (C)        Refused                 ___________
                                 (D)        Withdrawn               ___________
                       4
                       5 Authority: CACI VF-304
                       6
                       7                                     SPECIAL VERDICT FORM NO. _
                       8               BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
                       9                    GRUMPY BEVERAGE, LLC VERSUS GRUMPY CAT LIMITED
                    10
                                       We, the jury in the above-entitled action, answer the questions submitted to us as
                    11
                             follows:
                    12
                    13
                                       1.     Did Grumpy Cat and Grenade Beverage enter into a contract that was
                    14
                                              intended to benefit Grumpy Beverage?
                    15
                                              ______YES             ______NO
                    16
                                                  • If your answer to question 1 is YES, then answer question 2.
                    17
                                                  • If your answer to question 1 is NO, then stop here, answer no further
                    18
                                                      questions, and have the presiding juror sign and date this form.
                    19
                    20
                                       2.     Did Grumpy Beverage do all, or substantially all, of the significant
                    21
                                              things that the contract required Grumpy Beverage to do?
                    22
                                              ______YES             ______NO
                    23
                                                  • If your answer to question 2 is YES, then skip question 3 and answer
                    24
                                                      question 4.
                    25
                                                  • If your answer to question 2 is NO, then answer question 3.
                    26
                    27
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS             -4–
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
          Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 6 of 23 Page ID #:1747



                       1             3.       Was Grumpy Beverage excused from having to do all, or substantially
                       2                      all, of the significant things that the contract required Grumpy Beverage
                       3                      to do?
                       4                      ______YES              ______NO
                       5                          • If your answer to question 3 is YES, then answer question 4.
                       6                          • If your answer to question 3 is NO, then stop here, answer no further
                       7                               questions on this form, and have the presiding juror sign and date this
                       8                               form.
                       9
                    10               4.       Did all the conditions that were required for Grumpy Cat’s
                    11                        performance occur?
                    12                        ______YES              ______NO
                    13                            • If your answer to question 4 is YES, then answer question 5.
                    14                            • If your answer to question 4 is NO, then stop here, answer no further
                    15                                 questions on this form, and have the presiding juror sign and date this
                    16                                 form.
                    17
                    18               5.       Was Grumpy Cat excused from having to do all, or substantially all, of
                    19                        the significant things that the contract required Grumpy Cat to do?
                    20                        ______YES              ______NO
                    21                            • If your answer to question 5 is YES, then stop here, answer no further
                    22                                 questions on this form, and have the presiding juror sign and date this
                    23                                 form.
                    24                            • If your answer to question 5 is NO, then answer question 6.
                    25
                    26               6.       Did Grumpy Cat unfairly interfere with Grumpy Beverage’s right to
                    27                        receive the benefits of the contract?
                    28                        ______YES              ______NO

                             DEFENDANT’S PROPOSED VERDICT FORMS              -5–
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
          Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 7 of 23 Page ID #:1748



                       1                          • If your answer to question 6 is YES, then answer question 7.
                       2                          • If your answer to question 6 is NO, then stop here, answer no further
                       3                              questions on this form, and have the presiding juror sign and date this
                       4                              form.
                       5
                       6             7.       Was Grumpy Beverage harmed by Grumpy Cat’s interference?
                       7                      ______YES               ______NO
                       8                          • If your answer to question 7 is YES, then answer question 8.
                       9                          • If your answer to question 7 is NO, then stop here, answer no further
                    10                                questions on this form, and have the presiding juror sign and date this
                    11                                form.
                    12
                    13               8.       What are Grumpy Beverage’s damages?
                    14
                    15                                            TOTAL:   $_______________
                    16
                    17
                                     Signed: _________________________________
                    18                       Presiding Juror
                    19               Dated: _________________________________
                    20
                       After all verdict forms have been signed, notify the [clerk/bailiff/court attendant] that you
                    21 are ready to present your verdict in the courtroom.
                    22
                    23
                    24
                    25
                    26
                    27
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS             -6–
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
          Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 8 of 23 Page ID #:1749


                             Special Verdict Form No. _:
                       1
                                 (E)        Given as proposed       ___________
                       2
                                 (F)        Given as modified       ___________
                       3         (G)        Refused                 ___________
                                 (H)        Withdrawn               ___________
                       4
                       5 Authority: CACI VF-1900
                       6
                       7                                     SPECIAL VERDICT FORM NO. _
                       8                                INTENTIONAL MISREPRESENTATION
                       9                    GRUMPY BEVERAGE, LLC VERSUS GRUMPY CAT LIMITED
                    10
                                       We, the jury in the above-entitled action, answer the questions submitted to us as
                    11
                             follows:
                    12
                    13
                                       1.     Did Grumpy Cat make a false representation of a fact to Paul Sandford
                    14
                                              and/or Nick Sandford?
                    15
                                              ______YES             ______NO
                    16
                                                  • If your answer to question 1 is YES, then answer question 2.
                    17
                                                  • If your answer to question 1 is NO, then stop here, answer no further
                    18
                                                      questions, and have the presiding juror sign and date this form.
                    19
                    20
                                       2.     Did Grumpy Cat know that the representation was false, or did Grumpy
                    21
                                              Cat make the representation recklessly and without regard for its truth?
                    22
                                              ______YES             ______NO
                    23
                                                  • If your answer to question 2 is YES, then answer question 3.
                    24
                                                  • If your answer to question 1 is NO, then stop here, answer no further
                    25
                                                      questions, and have the presiding juror sign and date this form.
                    26
                    27
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS             -7–
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
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                       1             3.       Did Grumpy Cat intend that Paul Sandford and/or Nick Sandford rely
                       2                      on the representation?
                       3                      ______YES             ______NO
                       4                          • If your answer to question 3 is YES, then answer question 4.
                       5                          • If your answer to question 3 is NO, then stop here, answer no further
                       6                              questions on this form, and have the presiding juror sign and date this
                       7                              form.
                       8
                       9             4.       Did Paul Sandford and/or Nick Sandford reasonably rely on the
                    10                        representation in forming Grumpy Beverage?
                    11                        ______YES             ______NO
                    12                            • If your answer to question 4 is YES, then answer question 5.
                    13                            • If your answer to question 4 is NO, then stop here, answer no further
                    14                                questions on this form, and have the presiding juror sign and date this
                    15                                form.
                    16
                    17               5.       Was Paul Sandford’s and/or Nick Sandford’s reliance on Grumpy Cat’s
                    18                        representation a substantial factor in causing harm to Grumpy
                    19                        Beverage?
                    20                        ______YES             ______NO
                    21                            • If your answer to question 5 is YES, then answer question 6.
                    22                            • If your answer to question 5 is NO, then stop here, answer no further
                    23                                questions on this form, and have the presiding juror sign and date this
                    24                                form.
                    25
                    26
                    27
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS             -8–
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
                Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 10 of 23 Page ID
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                       1             6.       What are Grumpy Beverage’s damages?
                       2                      a.      Past economic loss:
                       3                              Lost earnings:        $______________
                       4                              Lost profits:         $______________
                       5
                       6                              Total Past Economic Damages:            $______________
                       7
                       8                      b.      Future economic loss:
                       9                              Lost earnings:        $______________
                    10                                Lost profits:         $______________
                    11
                    12                                Total Past Economic Damages:            $______________
                    13
                    14                                TOTAL:                                  $______________
                    15
                    16
                                     Signed: _________________________________
                    17                       Presiding Juror
                    18               Dated: _________________________________
                    19
                       After all verdict forms have been signed, notify the [clerk/bailiff/court attendant] that you
                    20 are ready to present your verdict in the courtroom.
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS             -9–
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
                Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 11 of 23 Page ID
                                                 #:1752

                             Special Verdict Form No. _:
                       1
                                 (I)        Given as proposed       ___________
                       2
                                 (J)        Given as modified       ___________
                       3         (K)        Refused                 ___________
                                 (L)        Withdrawn               ___________
                       4
                       5 Authority: CACI VF-1901
                       6
                       7                                     SPECIAL VERDICT FORM NO. _
                       8                                     INTENTIONAL CONCEALMENT
                       9                    GRUMPY BEVERAGE, LLC VERSUS GRUMPY CAT LIMITED
                    10
                                       We, the jury in the above-entitled action, answer the questions submitted to us as
                    11
                             follows:
                    12
                    13
                                       1.     Did Grumpy Cat intentionally fail to disclose a fact that Paul Sandford
                    14
                                              and Nick Sandford did not know and could not reasonably have
                    15
                                              discovered?
                    16
                                              ______YES             ______NO
                    17
                                                  • If your answer to question 1 is YES, then answer question 2.
                    18
                                                  • If your answer to question 1 is NO, then stop here, answer no further
                    19
                                                      questions, and have the presiding juror sign and date this form.
                    20
                    21
                                       2.     Did Grumpy Cat intend to deceive Paul Sandford and Nick Sandford by
                    22
                                              concealing the fact?
                    23
                                              ______YES             ______NO
                    24
                                                  • If your answer to question 2 is YES, then answer question 3.
                    25
                                                  • If your answer to question 1 is NO, then stop here, answer no further
                    26
                                                      questions, and have the presiding juror sign and date this form.
                    27
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS            - 10 –
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
                Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 12 of 23 Page ID
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                       1             3.       Had the omitted information been disclosed, would Paul Sandford and
                       2                      Nick Sandford reasonably have behaved differently, including, not
                       3                      forming Grumpy Beverage?
                       4                      ______YES               ______NO
                       5                           • If your answer to question 3 is YES, then answer question 4.
                       6                           • If your answer to question 3 is NO, then stop here, answer no further
                       7                              questions on this form, and have the presiding juror sign and date this
                       8                              form.
                       9
                    10               4.       Was Grumpy Cat’s concealment a substantial factor in causing harm to
                    11                        Grumpy Beverage?
                    12                        ______YES               ______NO
                    13                             • If your answer to question 4 is YES, then answer question 5.
                    14                             • If your answer to question 4 is NO, then stop here, answer no further
                    15                                questions on this form, and have the presiding juror sign and date this
                    16                                form.
                    17
                    18               5.       What are Grumpy Beverage’s damages?
                    19                        a.      Past economic loss:
                    20                                Lost earnings:        $______________
                    21                                Lost profits:         $______________
                    22
                    23                                Total Past Economic Damages:              $______________
                    24
                    25                        b.      Future economic loss:
                    26                                Lost earnings:        $______________
                    27                                Lost profits:         $______________
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS             - 11 –
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
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                       1                              Total Past Economic Damages:        $______________
                       2
                       3                              TOTAL:                              $______________
                       4
                       5
                                     Signed: _________________________________
                       6                     Presiding Juror
                       7             Dated: _________________________________
                       8
                         After all verdict forms have been signed, notify the [clerk/bailiff/court attendant] that you
                       9 are ready to present your verdict in the courtroom.
                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
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                    22
                    23
                    24
                    25
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                    27
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS        - 12 –
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
                Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 14 of 23 Page ID
                                                 #:1755

                             Special Verdict Form No. _:
                       1
                                 (M)      Given as proposed         ___________
                       2
                                 (N)      Given as modified         ___________
                       3         (O)      Refused                   ___________
                                 (P)      Withdrawn                 ___________
                       4
                       5 Authority: CACI VF-1903
                       6
                       7                                     SPECIAL VERDICT FORM NO. _
                       8                                  NEGLIGENT MISREPRESENTATION
                       9                  GRUMPY BEVERAGE, LLC VERSUS GRUMPY CAT LIMITED
                    10
                                     We, the jury in the above-entitled action, answer the questions submitted to us as
                    11
                             follows:
                    12
                    13
                                     1.       Did Grumpy Cat make a false representation of a fact to Paul Sandford
                    14
                                              and/or Nick Sandford?
                    15
                                              ______YES             ______NO
                    16
                                                  • If your answer to question 1 is YES, then answer question 2.
                    17
                                                  • If your answer to question 1 is NO, then stop here, answer no further
                    18
                                                      questions, and have the presiding juror sign and date this form.
                    19
                    20
                                     2.       Did Grumpy Cat honestly believe that the representation was true when
                    21
                                              Grumpy Cat made it?
                    22
                                              ______YES             ______NO
                    23
                                                  • If your answer to question 2 is YES, then answer question 3.
                    24
                                                  • If your answer to question 1 is NO, then stop here, answer no further
                    25
                                                      questions, and have the presiding juror sign and date this form.
                    26
                    27
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS            - 13 –
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
                Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 15 of 23 Page ID
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                       1             3.       Did Grumpy Cat have reasonable grounds for believing the
                       2                      representation was true when Grumpy Cat made it?
                       3                      ______YES             ______NO
                       4                          • If your answer to question 3 is NO, then answer question 4.
                       5                          • If your answer to question 3 is YES, then stop here, answer no further
                       6                              questions on this form, and have the presiding juror sign and date this
                       7                              form.
                       8
                       9             4.       Did Grumpy Cat intend that Paul Sandford and Nick Sandford rely on
                    10                        the representation?
                    11                        ______YES             ______NO
                    12                            • If your answer to question 4 is YES, then answer question 5.
                    13                            • If your answer to question 4 is NO, then stop here, answer no further
                    14                                questions on this form, and have the presiding juror sign and date this
                    15                                form.
                    16
                    17               5.       Did Paul Sandford and/or Nick Sandford reasonably rely on the
                    18                        representation in forming Grumpy Beverage?
                    19                        ______YES             ______NO
                    20                            • If your answer to question 5 is YES, then answer question 6.
                    21                            • If your answer to question 5 is NO, then stop here, answer no further
                    22                                questions on this form, and have the presiding juror sign and date this
                    23                                form.
                    24
                    25               6.       Was Paul Sandford’s and Nick Sandford’s reliance on Grumpy Cat’s
                    26                        representation a substantial factor in causing harm to Grumpy
                    27                        Beverage?
                    28                        ______YES             ______NO

                             DEFENDANT’S PROPOSED VERDICT FORMS            - 14 –
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
                Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 16 of 23 Page ID
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                       1                           • If your answer to question 6 is YES, then answer question 7.
                       2                           • If your answer to question 6 is NO, then stop here, answer no further
                       3                              questions on this form, and have the presiding juror sign and date this
                       4                              form.
                       5
                       6             7.       What are Grumpy Beverage’s damages?
                       7                      a.      Past economic loss:
                       8                              Lost earnings:        $______________
                       9                              Lost profits:         $______________
                    10
                    11                                Total Past Economic Damages:              $______________
                    12
                    13                        b.      Future economic loss:
                    14                                Lost earnings:        $______________
                    15                                Lost profits:         $______________
                    16
                    17                                Total Past Economic Damages:              $______________
                    18
                    19                                TOTAL:                                    $______________
                    20
                    21
                                     Signed: _________________________________
                    22                       Presiding Juror
                    23               Dated: _________________________________
                    24
                       After all verdict forms have been signed, notify the [clerk/bailiff/court attendant] that you
                    25 are ready to present your verdict in the courtroom.
                    26
                    27
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS             - 15 –
                             Case No. 8:15-cv-02063-DOC-DFM
A Professional Corporation
                Case 8:15-cv-02063-DOC-DFM Document 115 Filed 01/09/18 Page 17 of 23 Page ID
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                             Special Verdict Form No. _:
                       1
                                 (Q)        Given as proposed       ___________
                       2
                                 (R)        Given as modified       ___________
                       3         (S)        Refused                 ___________
                                 (T)        Withdrawn               ___________
                       4
                       5 Authority: CACI VF-304
                       6
                       7                                     SPECIAL VERDICT FORM NO. _
                       8                                      BREACH OF FIDUCIARY DUTY
                       9                    GRUMPY BEVERAGE, LLC VERSUS GRUMPY CAT LIMITED
                    10
                                       We, the jury in the above-entitled action, answer the questions submitted to us as
                    11
                             follows:
                    12
                    13
                                       1.     Did Grumpy Cat and Grumpy Beverage enter into a joint venture that
                    14
                                              resulted in Grumpy Cat owing a fiduciary duty to Grenade Beverage?
                    15
                                              ______YES             ______NO
                    16
                                                  • If your answer to question 1 is YES, then answer question 2.
                    17
                                                  • If your answer to question 1 is NO, then stop here, answer no further
                    18
                                                      questions, and have the presiding juror sign and date this form.
                    19
                    20
                                       2.     Did Grumpy Cat breach its fiduciary duty to Grumpy Beverage?
                    21
                                              ______YES             ______NO
                    22
                                                  • If your answer to question 2 is YES, then skip question 3 and answer
                    23
                                                      question 4.
                    24
                                                  • If your answer to question 2 is NO, then answer question 3.
                    25
                    26
                                       3.     Was Grumpy Beverage harmed by Grumpy Cat’s breach of fiduciary
                    27
                                              duty?
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS            - 16 –
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                       1                      ______YES               ______NO
                       2                          • If your answer to question 3 is YES, then answer question 4.
                       3                          • If your answer to question 3 is NO, then stop here, answer no further
                       4                              questions on this form, and have the presiding juror sign and date this
                       5                              form.
                       6
                       7             4.       Was Grumpy Cat’s conduct a substantial factor in causing Grumpy
                       8                      Beverage’s harm?
                       9                      ______YES               ______NO
                    10                            • If your answer to question 4 is YES, then answer question 5.
                    11                            • If your answer to question 4 is NO, then stop here, answer no further
                    12                                questions on this form, and have the presiding juror sign and date this
                    13                                form.
                    14
                    15               5.       What are Grumpy Beverage’s damages?
                    16
                    17                                            TOTAL:   $_______________
                    18
                    19
                                     Signed: _________________________________
                    20                       Presiding Juror
                    21               Dated: _________________________________
                    22
                       After all verdict forms have been signed, notify the [clerk/bailiff/court attendant] that you
                    23 are ready to present your verdict in the courtroom.
                    24
                    25
                    26
                    27
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS            - 17 –
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                             Special Verdict Form No. _:
                       1
                                 (A)        Given as proposed       ___________
                       2
                                 (B)        Given as modified       ___________
                       3         (C)        Refused                 ___________
                                 (D)        Withdrawn               ___________
                       4
                       5                                      SPECIAL VERDICT FORM NO. _
                       6                                           PUNITIVE DAMAGES
                       7                                          GRUMPY CAT LIMITED
                       8
                                       We, the jury, answer the questions submitted to us as follows:
                       9
                    10
                                       1.     Did Grumpy Cat engage in conduct with malice, oppression, or fraud?
                    11
                                              ______YES             ______NO
                    12
                                                  • If your answer to question 1 is YES, then answer question 2.
                    13
                                                  • If your answer to question 1 is NO, then stop here, answer no further
                    14
                                                      questions on this form, and have the presiding juror sign and date this
                    15
                                                      form.
                    16
                    17
                                       2.     Was the conduct constituting malice, oppression, or fraud committed by
                    18
                                              one or more officers, directors, or managing agents of Grumpy Cat
                    19
                                              while he/she/they were acting on behalf of Grumpy Cat?
                    20
                                              ______YES             ______NO
                    21
                                                  • If your answer to question 2 is YES, then answer question 3.
                    22
                                                  • If your answer to question 2 is NO, then stop here, answer no further
                    23
                                                      questions on this form, and have the presiding juror sign and date this
                    24
                                                      form.
                    25
                    26
                                       3.     What amount of punitive damages, if any, do you award to Grumpy
                    27
                                              Beverage?
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS            - 18 –
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                       1
                       2             TOTAL:            $____________________________
                       3
                       4
                                              Signed:             _____________________________
                       5
                                                                  Presiding Juror
                       6
                                              Dated:              _____________________________
                       7
                       8
                     9 After all verdict forms have been signed, notify the [clerk/bailiff/court attendant]
                       that you are ready to present your verdict in the courtroom.
                    10
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                             DEFENDANT’S PROPOSED VERDICT FORMS              - 19 –
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                             Special Verdict Form No. _:
                       1
                                 (A)      Given as proposed           ___________
                       2
                                 (B)      Given as modified           ___________
                       3         (C)      Refused                     ___________
                                 (D)      Withdrawn                   ___________
                       4
                       5                                      SPECIAL VERDICT FORM NO. _
                       6             INCORPORATE INTO GRUMPY CAT’S SPECIAL VERDICT FORM
                       7
                                       We, the jury in the above-entitled action, answer the questions submitted to us as
                       8
                             follows:
                       9
                    10
                                     1.       Failure to Mitigate: Should Grumpy Cat’s damages for the cause of
                    11
                                              action of breach of contract be reduced because there were amounts that
                    12
                                              Grumpy        Cat could have avoided          with reasonable efforts or
                    13
                                              expenditures?
                    14
                                              ______YES               ______NO
                    15
                                                  • If your answer to question __ is YES, then answer question __.
                    16
                                                  • If your answer to question __ is NO, then stop here, answer no further
                    17
                                                      questions on this form, and have the presiding juror sign and date this
                    18
                                                      form.
                    19
                    20
                                     5.       By what amount should Grumpy Cat’s damages be reduced for failure
                    21
                                              to mitigate damages?
                    22
                    23
                                                                  TOTAL:   $_______________
                    24
                    25
                    26
                                       Signed: _________________________________
                    27                         Presiding Juror
                    28

                             DEFENDANT’S PROPOSED VERDICT FORMS            - 20 –
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                       1             Dated: _________________________________
                       2
                                     After all verdict forms have been signed, notify the [clerk/bailiff/court
                       3
                             attendant] that you are ready to present your verdict in the courtroom.
                       4
                       5
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                             DEFENDANT’S PROPOSED VERDICT FORMS     - 21 –
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                                                                  Respectfully submitted,
                       1
                             Dated: January 9, 2018               THE KINDER LAW GROUP, APC
                       2
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                       8                                          IN ASSOCIATION WITH:

                       9
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                    10
                                                                  By: /s/ John Gulino
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                    14
                                                                       Attorneys for Defendants and
                    15                                                 Counterclaimants Paul Sandford and
                                                                       Nick Sandford and Intervening
                    16                                                 Defendant and Counterclaimant Grumpy
                                                                       Beverage, LLC
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                             DEFENDANT’S PROPOSED VERDICT FORMS   - 22 –
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